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                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

AGENCY INSURANCE COMPANY :
OF MARYLAND                                    CIVIL ACTION NO. 3:21-767
             Plaintiff   :
                                                   (JUDGE MANNION)
                v.                        :

PLACIDA PAULINO and                       :
IDALIS PAULINO
               Defendants                 :


                                      ORDER

        Presently before the court is the Defendants’ motion to extend time to

answer the Complaint. (Doc. 10). The motion is GRANTED. The defendants

will have until September 17, 2021 to file their Answer.



                                              s/ Malachy E. Mannion
                                              MALACHY E. MANNION
                                              United States District Judge

Dated: September 3, 2021
21-767-02
